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 9                      IN THE UNITED STATES DISTRICT COURT
10                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11   VIRGINIA DUNCAN, et al.,                    Case No: 17-cv-1017-BEN-JLB
12
                                Plaintiffs,      PLAINTIFFS’ SUPPLEMENTAL
13                                               BRIEF RE: CHARTS OF
                         v.                      HISTORICAL LAWS
14
     XAVIER BECERRA, in his official
15   capacity as Attorney General of the State
16   of California, et al.,

17                              Defendant.
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 1                                      INTRODUCTION
 2         The Supreme Court’s recent decision in N.Y. State Rifle & Pistol Ass’n v. Bruen,
 3   597 U.S. __, 142 S. Ct. 2111 (2022), guides courts to “not ‘uphold every modern law
 4   that remotely resembles a historical analogue,’ because doing so ‘risk[s] endorsing
 5   outliers that our ancestors would never have accepted.’” Id. at 2133 (quoting
 6   Drummond v. Robinson Twp., 9 F.4th 217, 226 (3d Cir. 2021)).
 7         Frankly, even remote resemblances are not within the grasp of any of the
 8   hundreds of proposed analogues the State has submitted to this Court. It saw fit to
 9   include English laws that pre-date Shakespeare, fire-safety laws, laws that barred the
10   concealed carry (but not possession) of certain weapons, and puzzlingly, even an
11   assortment of racist laws that only applied to slaves, free African Americans, and
12   Native Americans. But the State did not include laws dating to the ratification of the
13   Second or Fourteenth Amendments that banned the possession of an entire class of
14   common arms based on their firing capacity—because, try as it might, the State could
15   not find a single example of such a law.
16         Even after extended supplemental briefing was complete, this Court gave the
17   State another opportunity to find any laws it considered proper analogues. Given that
18   opportunity, the State has once again failed to present a “well established and
19   representative” analogue to its modern-day ban on magazines able to hold over ten
20   rounds of ammunition. Id. It has not—and cannot—“demonstrate that [the magazine
21   ban] is consistent with this Nation’s historical tradition of firearm regulation.” Id. at
22   2126. The law violates the Second Amendment.
23                                         ARGUMENT
24         The Second Amendment provides that “the right of the people to keep and bear
25   Arms … shall not be infringed.” U.S. Const. amend. II. That right, the Supreme Court
26   recently confirmed, necessarily “protects the possession and use of weapons that are
27   ‘in common use.’” N.Y. State Rifle & Pistol Ass’n v. Bruen, 597 U.S. __, 142 S. Ct.
28   2111, 2118 (2022). And it “extends, prima facie, to all instruments that constitute
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 1   bearable arms, even those that were not in existence at the time of the founding.”
 2   District of Columbia v. Heller, 554 U.S. 570, 582 (2008). In short, if an arm is
 3   “typically possessed by law-abiding citizens for lawful purposes” today, the State
 4   cannot ban it—full stop. Id. at 625-627. This must be so. For the state has no power to
 5   ban what that the Constitution protects. Indeed, if the Second Amendment means
 6   anything, it must mean that the government cannot prohibit “an entire class of ‘arms’
 7   that is overwhelmingly chosen by American society for [a] lawful purpose.” Id. at 628.
 8         Yet California has taken the extreme step of banning the acquisition and
 9   possession of common magazines able to hold more than 10 rounds—items that the
10   State pejoratively (and arbitrarily) calls “large capacity magazines.” Cal. Penal Code §
11   32310(a). Because the law is a flat ban on these arms, this case is a straightforward
12   one. Indeed, Heller’s exhaustive historical analysis establishes that “bearable arms”
13   can be prohibited only if they are “dangerous and unusual.” 554 U.S. at 627. On the
14   other hand, the State cannot ban arms that are “typically possessed by law-abiding
15   citizens for lawful purposes.” Id. at 625. Bruen did not change this test for analyzing
16   arms bans. This case thus boils down to a single issue: Are the magazines that
17   California bans “typically possessed” for lawful purposes? As many courts, including
18   this one, have already held, the answer is irrefutably “yes.” Under Heller (as elaborated
19   by Bruen), no further inquiry is required.
20         But even if this Court indulges the State’s treasure hunt for historical analogues
21   to justify its modern restriction, it will quickly see that such a search is futile. There is
22   simply no “enduring American tradition” of banning arms in common use for lawful
23   purposes, like the magazines at issue here. Id. at 2135. California’s modern magazine
24   ban is thus unconstitutional, and it should be permanently enjoined (again).
25   I.    CALIFORNIA BANS MAGAZINES IN COMMON USE FOR LAWFUL PURPOSES
26         The textual right “to keep and bear Arms,” of course, implies the right to use
27   them “for offensive or defensive action.” Id. at 2134; see also id. at 2127, 2134-35
28   (Second Amendment protects the right to keep and bear arms “in common use,” “in
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 1   case of confrontation,” “for self-defense”). And the right to use arms implies the right
 2   to obtain and possess the ammunition and the components necessary to fire them.
 3   Jackson v. City & Cnty. of San Francisco, 746 F.3d 953, 967 (9th Cir. 2014). This
 4   includes, as this Court as already held, ammunition-feeding devices (like detachable
 5   magazines) necessary for the function of those firearms designed to use them. Duncan
 6   v. Becerra (“Duncan III), 366 F. Supp. 3d 1131, 1142 (S.D. Cal. 2019); Order Re:
 7   Prelim. Inj. at 16 (June 29, 2017), ECF No. 28 (“Without protection for the closely
 8   related right to keep and bear ammunition magazines …, ‘the Second Amendment
 9   would be toothless.’”) (quoting Luis v. United States, 578 U.S. 5, 27 (2016)). It is thus
10   no surprise that every appellate court to have considered the issue has understood that
11   magazines are “arms” within the plain meaning of the Second Amendment.1
12         What’s more, the record shows that the magazines that California bans “are used
13   for self-defense by law-abiding citizens. And they are common.” Duncan III, 366 F.
14   Supp. 3d at 1143; see, e.g., Barvir MSJ Decl. Ex. 2 at 30-32; Ex. 12 at 295, Ex. 56, Ex.
15   58 at 846-48; see generally Barvir MSJ Decl. Exs. 52-57, 62. Recall, magazines over
16   ten rounds come standard with many of the most popular firearms on the market.
17   Helsley Decl. Ex. 10 at 3-4; Barvir Suppl. Br. Decl., Ex. 31 (ECF No. 132-5); id. at Ex.
18   34 at 240-42, Ex. 39 at 314-15 (ECF No. 132-6); see also Duncan III, 366 F. Supp. 3d
19   at 1145 (discussing, among others, the popular “Glock 17, which is designed for, and
20
21         1
             See, e.g., Worman v. Healey, 922 F.3d 26, 36 (1st Cir. 2019) (assuming without
22   deciding that a magazine restriction implicates the Second Amendment); see Ass’n of
     N.J. Rifle & Pistol Clubs, Inc. v. Att’y Gen. of N.J. (“ANJRPC”), 910 F.3d 106, 116 (3d
23   Cir. 2018) (“Because ammunition magazines feed ammunition into certain guns, and
     ammunition is necessary for such a gun to function as intended, magazines are ‘arms’
24   within the meaning of the Second Amendment.”); N.Y. State Rifle & Pistol Ass’n v.
     Cuomo (“NYSRPA”), 804 F.3d 242, 257 (2d Cir. 2015) (“[W]e proceed on the
25   assumption that these laws [bans on “assault weapons” and “large capacity
     magazines”] ban weapons protected by the Second Amendment.”); Fyock v. City of
26   Sunnyvale, 25 F. Supp. 3d 1267, 1276 (N.D. Cal. 2014), aff’d, 779 F.3d 991 (9th Cir.
     2015) (“[T]he court finds that the prohibited magazines are ‘weapons of offence, or
27   armour of defence,’ as they are integral components to vast categories of guns.”)
            In fact, only the Fourth Circuit has ruled that magazines over ten rounds are not
28   protected—though not because they are not arms, but because the court held they are
     most useful in military service. Kolbe v. Hogan, 849 F.3d 114, 137-38 (4th Cir. 2017).
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 1   typically sold with, a 17-round magazine” and the AR-15, of which more than 5
 2   million have been sold since the 1980s and which “are typically sold with 30-round
 3   magazines”). Tens of millions of these magazines are in the hands of Americans today.
 4   Hanish Decl. ¶ 18; Helsley Decl. ¶ 11; Barvir Suppl. Br. Decl. Ex. 40 at 362 (ECF No.
 5   132-6). And they account for “approximately half of all privately owned magazines in
 6   the United States.” Duncan v. Becerra (“Duncan IV”), 970 F.3d 1133, 1142 (9th Cir.
 7   2020); Duncan v. Bonta (“Duncan V”), 19 F.4th 1087, 1097 (9th Cir. 2021). Under any
 8   reasonable measure, they are common. NYSPRA, 804 F.3d at 255-57 (“large-capacity
 9   magazines” are “in common use” based on even the most conservative estimates).
10         And not only are they “common,” magazines over ten rounds are typically
11   possessed for lawful purposes. Renowned firearms historian, Stephen Helsley, explains
12   that firearms and magazines over ten rounds were developed for self- and home-
13   defense. Helsley Decl. Ex. 10 at 7-9. Manufacturers market them for those purposes.
14   Hanish Decl. ¶¶ 18-20, 26-29. And civilians regularly choose them to increase their
15   chances of staying alive in violent confrontations. Helsley Decl. ¶ 11, Ex. 10 at 5;
16   Barvir Suppl. Br. Decl. Ex. 39 at 307-09 (ECF No. 132-6). Indeed, a recent survey of
17   gun owners found that 62.4% of those polled own magazines over ten rounds for home
18   defense. William English, Ph.D., 2021 National Firearms Survey: Updated Analysis
19   Including Types of Firearms Owned, at 2 (May 13, 2022), https://bit.ly/3HaqmKv.
20   Other reasons cited include lawful activities like target shooting (64.3%), hunting
21   (47%), and defense outside the home (41.7%).
22         All this likely explains why nearly every appellate court that has analyzed the
23   issue has found, or was willing to assume, that bans on magazines over ten rounds
24   burden conduct protected by the Second Amendment. See, e.g., Fyock v. Sunnyvale,
25   779 F.3d 991, 998-99 (9th Cir. 2015); ANJRPC, 910 F.3d at 116; NYJRPC, 804 F.3d at
26   255; Friedman v. City of Highland Park, 784 F.3d 406, 415 (7th Cir. 2015); Heller v.
27   District of Columbia, 670 F.3d 1244, 1261 (D.C. Cir. 2011); but see Kolbe, 849 F.3d at
28   137-38 (standing alone in holding that “large capacity magazines” are unprotected
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 1   because they are best suited for “military purposes”).
 2         And though it conveniently takes a different position here to argue the
 3   magazines at issue are unprotected by the Second Amendment, Def.’s Suppl. Br. 16-17
 4   (ECF No. 118), even the State has agreed that laws restricting magazines restrict
 5   firearms. In a challenge to California Code of Civil Procedure section 1021.11 recently
 6   before this Court, the State expressly argued that “there is nothing indefinite about
 7   applying section 1021.11 to a suit challenging that law [section 32310]: The large-
 8   capacity magazines ban appears in the Penal Code’s title on ‘Firearms,’ in the division
 9   on ‘Special Rules Relating to Particular Types of Firearms or Firearm Equipment,’ and
10   a restriction on the ammunition that may be used in a firearm is a restriction on
11   firearms.” Intervenor-Defendants’ Supplemental Br. 14, S. Bay Rod & Gun Club, Inc.
12   v. Bonta, No. 22-cv-01461 (S.D. Cal. Dec. 12, 2022) (ECF No. 32).
13         In short, it is well documented and almost universally accepted that magazines
14   over ten rounds are commonly possessed in the United States for lawful purposes—
15   including the core lawful purpose of self-defense. They are thus protected by the
16   Second Amendment, and they cannot be banned.
17   II.   THE STATE’S CHARTS MERELY AFFIRM WHAT HELLER ALREADY HELD—
           THERE IS NO ENDURING AMERICAN TRADITION OF BANNING ARMS IN
18         COMMON USE FOR LAWFUL PURPOSES
19         At the very least, because California restricts the acquisition and possession of
20   arms in common use for lawful purposes—conduct that “the Constitution
21   presumptively protects”—the State must “justify its regulation by demonstrating that it
22   is consistent with the Nation’s historical tradition of firearm regulation.” Bruen, 142 S.
23   Ct. at 2126, 2130. “Only then may [this] court conclude that” the conduct Plaintiffs
24   wish to engage in “falls outside the Second Amendment’s ‘unqualified command.’” Id.
25   Try as it might, California has not—because it cannot—meet this heavy burden.
26         As explained in Plaintiffs’ Supplemental Brief, Bruen demands that the State
27   present “well established and representative” historical analogues. Bruen, 142 S. Ct. at
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 1   2133.2 While the State need not identify a “historical twin,” it must present a genuine
 2   analogue that is “relevantly similar” to the modern restriction it seeks to defend. Id. at
 3   2122. The Bruen Court did not establish all the ways proposed analogues may be
 4   “relevantly similar,” but it explained that “Heller and McDonald point toward at least
 5   two metrics: how and why the regulations burden a law-abiding citizen’s right to armed
 6   self-defense.” Id. at 2133 (emphasis added). When looking at the “how,” courts should
 7   ask whether a proposed analogue imposes a “comparable burden.” Id. To prevent this
 8   analysis from devolving into just another way to balance burdens and benefits—a test
 9   Bruen explicitly rejected—courts should consider whether the challenged modern law
10   and the proposed historical analogue impose a similar type of burden (not just a
11   similarly severe burden) on the right of armed self-defense. And when looking at the
12   “why,” courts should consider “whether th[e] burden is comparably justified,” always
13   mindful that historical laws enacted for one purpose cannot be used as a pretext to
14   justify a modern law that was enacted for entirely different reasons. Id.
15         In short, “a historical statute cannot earn the title ‘analogue’ if it is clearly more
16   distinguishable than it is similar to the thing to which it is compared.” Antonyuk v.
17   Hochul, No. 22-cv-0986, 2022 U.S. Dist. LEXIS 182965, at *20 (N.D.N.Y. Oct. 6,
18   2022). But this is the sort of strained comparison-making that nearly all of the State’s
19   proposed historical analogues rely on.
20         In response to this Court’s request for a compendium of purportedly relevant
21   historical analogues, the State filed two charts, listing over 300 laws dating all the way
22   back to 1300s England. Survey of Relevant Statutes (Pre-Founding-1888), ECF No.
23
           2
24           This, of course, assumes the State even has a right to engage in argument by
     analogy. For the reasons explained in Plaintiffs’ supplemental brief, it should not be
25   here. Pls.’ Suppl. Br. 37-41 (ECF No. 132). In short, firearms able to fire many rounds
     before reloading are not a modern technological breakthrough; repeating arms pre-date
26   the Founding by hundreds of years, and they became common during and just after the
     Civil War. Yet not one law the State cites restricted firearm capacity. “When a
27   challenged regulation addresses a general societal problem that has persisted since the
     18th century, the lack of a distinctly similar historical regulation addressing that
28   problem is relevant evidence that the challenged regulation is inconsistent with the
     Second Amendment.” Bruen, 142 S. Ct. at 2131.
                                                   6
       PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: CHARTS OF HISTORICAL LAWS
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 1   139-1; Survey of Relevant Statutes (1889-1930), ECF No. 139-2. Consisting of a
 2   remarkably broad sampling of historical weapons regulations—from Colonial-era
 3   gunpowder laws to 20th-century machine-gun restrictions—the State’s charts appear
 4   designed to construct a narrative that the government has always been free to regulate
 5   any weapon it considers “dangerous or unusual” in any way it chooses.
 6         But, at best, the State’s assemblage of historical laws simply affirms what
 7   Supreme Court precedent already tells us: While there may be a tradition of regulating
 8   “dangerous and unusual weapons,” Heller, 554 U.S. at 627, there is no historical
 9   justification for a flat ban on arms that are “typically possessed by law-abiding citizens
10   for lawful purposes,” id. at 625. To the contrary, as both this Court and every member
11   of the Ninth Circuit to engage with the historical record has concluded, history and
12   tradition establish the complete absence of “a well-established and representative
13   historical analogue.” See Duncan III, 366 F. Supp. 3d at 1149-53; Duncan IV, 970 F.3d
14   at 1147-51 (after conducting a “long march through the history of firearms,” the panel
15   found no evidence that magazine capacity restrictions have any historical pedigree);
16   Duncan V, 19 F.4th at 1156-59 (Bumatay, J. dissenting).
17         As Judge Bumatay observed in his dissent en banc:
18                Not only is California’s ban not historically longstanding,
                  but it also differs in kind from the regulatory measures
19                mentioned in Heller. Regulations on possession by
                  people dangerous to society, where a firearm may be
20                carried, and how firearms may be exchanged, see Heller,
                  554 U.S. at 626-27, are about the manner or place of
21                use and sale or the condition of the user. California’s
                  ban, on the other hand, is much more like a “prohibition
22                on an entire class of ‘arms’ that is overwhelmingly
                  chosen by American society” for home defense. Id. at
23                628. Also, like the ban in Heller, California’s ban extends
                  “to the home, where the need for defense of self, family,
24                and property is most acute.” Id.
25   Duncan V, 19 F.4th at 1158-59 (Bumatay, J. dissenting) (double emphasis added). The
26   same can be said of nearly every law the State includes in its charts of allegedly
27   relevant historical laws.
28         Plaintiffs’ objections to the inclusion of each of the State’s proposed analogues
                                   7
      PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: CHARTS OF HISTORICAL LAWS
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 1   are laid out in Plaintiffs’ Disagreements Re: Defendant’s Survey of Relevant Statutes,
 2   ECF No. 139-3.3 Plaintiffs explain those objections further here.
 3         A.     Medieval England to Colonial America (1383 – 1689)
 4         In describing the Second Amendment’s history-and-tradition-based analysis, the
 5   Bruen Court cautioned that not all history is created equal: “The Second Amendment
 6   was adopted in 1791; the Fourteenth in 1868. Historical evidence that long predates
 7   either date may not illuminate the scope of the right if linguistic or legal conventions
 8   changed in the intervening years.” 142 S. Ct at 2136. Because “[c]onstitutional rights
 9   are enshrined with the scope they were understood to have when the people adopted
10   them,” the Bruen Court gave very little weight to evidence of medieval English and
11   Colonial American restrictions that did not take hold in post-Revolution America. Id.
12   (citing Heller, 554 U.S. at 634). As the Court explained, “[s]ometimes, in interpreting
13   our own Constitution, ‘it [is] better not to go too far back into antiquity for the best
14   securities of our liberties,’ [citation omitted] unless evidence shows that medieval law
15   survived to become our Founders’ law.” Id. (citing Funk v. United States, 290 U.S.
16   371, 382 (1933)) (emphasis added).
17         Even still, just as it began its supplemental brief, the State begins its chart with a
18   handful of English laws pre-dating the Founding by hundreds of years. ECF No. 139-1,
19   at 1 (citing 7 Rich. 2, ch. 13 (1383) (banning possession of launcegays); 20 Rich. 2, ch.
20   1 (1396) (same); 33 Hen. 8, ch. 6 §§ 1, 18 (1541) (banning possession of crossbows,
21   handguns, hagbutts, and demy hakes); 4 Jac. I, ch. 1 (1606) (same)). And just as it did
22   in its supplemental brief, the State includes a 1541 English law restricting the keeping
23   of handguns that Bruen itself already considered. The Bruen Court looked at this very
24   law and rejected it, explaining that the justification for the 1541 restriction was not
25   comparable to concerns about public safety often used to justify modern regulations
26
27         3
              Plaintiffs do not concede that the State has accurately described the laws it
28   listed in each chart because the State has not provided Plaintiffs with either the full text
     of most of these laws or a source from where the State obtained them.
                                                  8
       PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: CHARTS OF HISTORICAL LAWS
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 1   today. The Court observed that:
 2                Henry VIII’s displeasure with handguns arose not
                  primarily from concerns about their safety but rather their
 3                inefficacy. Henry VIII worried that handguns threatened
                  Englishmen’s proficiency with the longbow—a weapon
 4                many believed was crucial to English military victories in
                  the 1300s and 1400s, including the legendary English
 5                victories at Crécy and Agincourt.
 6   142 S. Ct. at 2140. The Court also highlighted a more fundamental issue with the
 7   English law banning handguns—it is “inconsistent with Heller’s historical analysis”:
 8                In any event, lest one be tempted to put much evidentiary
                  weight on the 1541 statute, it impeded not only public
 9                carry, but further made it unlawful for those without
                  sufficient means to “kepe in his or their houses” any
10                “handgun.” 33 Hen. 8 c. 6, §1. Of course, this kind of
                  limitation is inconsistent with Heller’s historical
11                analysis regarding the Second Amendment’s meaning at
                  the founding and thereafter. So, even if a severe
12                restriction on keeping firearms in the home may have
                  seemed appropriate in the mid-1500s, it was not
13                incorporated into the Second Amendment’s scope.
14   Id. at n.10 (double emphasis added).
15         In short, the Supreme Court has already rejected the very history the State now
16   submits to this Court. That precedent is binding.
17         B.     The Founding Era (1750 – 1790)
18         Moving to the Founding—the only period that Bruen makes unmistakably clear
19   is relevant to the analysis—the State’s charts fall woefully short of making a case for a
20   an “enduring American tradition” of “relevantly similar” laws. 142 S. Ct. at 2132.
21   Citing just ten American laws adopted between 1750 and 1790 (and only five more
22   laws adopted by the start of the 19th century), the State yet again “fails to point to a
23   single Founding-era statute that is even remotely analogous to its magazine ban.”
24   Duncan V, F.4th at 1159 (Bumatay, J. dissenting). Indeed, the State remains unable to
25   identify even one law that flatly bans possession of an entire class of arms—let alone a
26   law that targets arms for prohibition based on their firing capacity.
27         And even though Judge Bumatay pointed to these laws when this case was heard
28   en banc, the State did not include the arguably “closest Founding-era analogues to
                                   9
      PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: CHARTS OF HISTORICAL LAWS
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 1   ammunition [or firing capacity] regulations”—those “laws requiring that citizens arm
 2   themselves with particular arms and a specific minimum amount of ammunition.” Id.
 3   (citing 1784 Mass. Acts 142; 1786 N. Y. Laws 228; 1785 Va. Statutes at Large 12 (12
 4   Hening c. 1); 1 Stat. 271 (1792) (Militia Act); Herbert L. Osgood, The American
 5   Colonies in the Seventeenth Century 499-500 (1904) (explaining that states often
 6   required citizens to equip themselves with adequate firearms and ammunition,
 7   including between 20 and 24 cartridges at minimum). This is likely because the
 8   existence of such laws weighs against the State’s claim that its modern magazine ban
 9   is constitutional, not in favor of it.
10          That said, Plaintiffs will address the State’s proposed Founding-era analogues in
11   turn. The State’s charts include four types of 18th-century laws: (1) restrictions on
12   carry, possession, or use by enslaved people and racial minorities; (2) restrictions on
13   “trap guns”; (3) gunpowder-storage regulations; and (4) restrictions on the carry or use
14   of certain weapons while engaged in unlawful behavior. None of the proposed laws is
15   remotely similar to the State’s flat ban on an entire class of arms typically possessed
16   for lawful purposes.
17
                   1.     Restrictions on Carry, Possession, or Use by Enslaved People
18                        and Racial Minorities
19          The State’s charts do not include a single founding-era law that bans the
20   possession of any class of arms, let alone a class of arms in common use. Instead, the
21   State relies on several laws banning the carry, possession, or use of arms by enslaved
22   people, Indians, and other racial minorities. ECF No. 139-1, at 1, 3-7, 13, 17-18 (citing
23   laws of New York (1664), Virginia (1792), Delaware (1797), Kentucky (1798), and
24   Georgia (1860), as well as the territories of Mississippi (1799, 1804), Indiana (1804),
25   Missouri (1818), Arkansas (1835), North Carolina (1846), and the city of Harrodsburg,
26   KY (1859)). The State’s “reliance on these laws is concerning, but in any event, they
27   do not support the constitutionality of” California’s modern magazine ban. United
28   States v. Harrison, 2023 U.S. Dist. LEXIS 18397, at *41 (W.D. Okla. 2023) (declaring
                                   10
      PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: CHARTS OF HISTORICAL LAWS
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 1   federal ban on possession of firearms by marijuana users unconstitutional).
 2         Indeed, it should go without saying that slave codes and explicitly racist laws
 3   enacted to disarm classes of marginalized people provide no legitimate analogue for
 4   modern arms bans. Otherwise, the Bruen Court would have mentioned them even once,
 5   but the Court rightly ignored them. Aside from being repugnant to American (and
 6   Californian) values of liberty, equality, and human dignity,
 7
                  historical restrictions on slaves and Indians provide no
 8                insight into the constitutionality of [a modern gun
                  restriction]. That is because neither slaves nor Indians
 9                were understood to be a part of the “political community”
                  of persons protected by the Second Amendment. Slaves,
10                of course, were not made a part of the political
                  community until the post-Civil War amendments and
11                thus did not hold any Second Amendment rights—a point
                  infamously, yet explicitly, made by Dred Scott v.
12                Sanford itself. Indians, likewise, were also generally not
                  considered to be a part of the political community
13                protected by the Second Amendment.
14   Id. (citing Scott v. Sanford, 60 U.S. (19 How.) 393, 404 (1856)) (emphasis added).
15   “[H]istorical restrictions on these groups [thus] provide little insight into the meaning
16   of the Second Amendment because the ratifying public would not have understood
17   those groups to be protected by” it. Id. at *41-42.
18                2.     Restrictions on Setting “Trap Guns” and “Spring Guns”
19         “Trap guns” and “spring guns” were devices rigged to fire without the presence
20   of a person. Spitzer Decl. ¶ 50. The State has claimed that laws restricting the use of
21   the devices in early America provide relevant historical support for its modern
22   magazine ban because they “originated during the colonial period” and “were enacted
23   due to the threat posed to innocent life.” Def.’s Suppl. Br. 38-39 (citing Spitzer Decl.
24   ¶¶ 50-53, Ex. F). But the State’s charts cite only one Founding-era restriction on the
25   setting of “trap guns.” ECF No. 139-1, at 2 (citing 1763-1775 N.J. Laws 346, An Act
26   for the Preservation of Deer and Other Game, and to Prevent Trespassing with Guns,
27   ch. 539, § 10). It was not until the late 19th century that such restrictions appeared
28   elsewhere. ECF No. 139-1, at 21, 31, 35, 49 (laws from the territory of Utah (1865), as
                                   11
      PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: CHARTS OF HISTORICAL LAWS
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 1   well as Minnesota (1873), Michigan (1875), and Vermont (1884)); ECF No. 139-2, at
 2   6, 9 (laws from North Dakota (1891, 1895)). They were thus enacted far too long after
 3   the Founding to be given much weight. Heller, 554 U.S. at 634-35; Bruen, 142 S. Ct. at
 4   2136 (cautioning against “giving postenactment history more weight than it can bear”).
 5         More importantly, these laws did not ban any class of arms. Rather, they
 6   regulated the manner of using them. That is, they banned setting loaded, unattended
 7   guns to prevent unintended discharges. Indeed, the only Founding-era “trap gun”
 8   restriction the State lists, ECF No. 139-1, at 2, barred only the setting of “any loaded
 9   Gun in such Manner as that the same shall be intended to go off or discharge itself, or
10   be discharged by any String, Rope, or other Contrivance,” 1763-1775 N.J. Laws 346,
11   An Act for the Preservation of Deer and Other Game, and to Prevent Trespassing with
12   Guns, ch. 539, § 10. What’s more, according to the State, these laws were enacted “due
13   to the threat posed to innocent life,” Def.’s Suppl. Br. 39 (citing Spitzer Decl. ¶ 50),
14   both human and animal. But just about any gun restriction can be vaguely described as
15   necessary to promote public safety or protect life. “Trap gun” restrictions were
16   necessary because setting loaded, unattended guns to discharge automatically imposes
17   an incredibly specific threat to life that is entirely unrelated to violent crime.
18         Because early American “trap gun” laws are not comparable to California’s
19   magazine ban—either in terms of the type of burden they imposed or the government’s
20   justification for that burden—they are not constitutionally relevant analogues.
21                3.     Gunpowder Restrictions
22         Next, the State’s charts cite two Founding-era city laws regulating gunpowder
23   storage and possession. ECF No. 139-1, at 3 (citing 1783 Mass. Acts 37, § 2
24   (prohibiting the possession of firearms loaded with gunpowder in the city of Boston);
25   1784 Laws of N.Y. 627, ch. 28 (prohibiting the keeping of more than 28 pounds of
26   gunpowder in New York City)).4 But these laws were enacted, as the State has
27
           4
28          A handful of other jurisdictions adopted similar laws in the mid-1800s. ECF
     No. 139-1, at 7, 13, 17 (laws from Maine (1821), Chicago, IL (1851), and St. Paul, MN
                                               12
      PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: CHARTS OF HISTORICAL LAWS
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 1   admitted, Def.’s Suppl. Br. 38 (citing Cornell Decl. ¶¶ 41, 45), to prevent catastrophic
 2   explosions and fires in town limits and near powder houses.5 They were necessary
 3   because of the highly combustible and unstable nature of loose gunpowder, which is
 4   not a modern concern. They were not enacted to combat crime, in general, or mass
 5   killings, more specifically. And, more importantly, most such laws regulated only the
 6   manner of keeping of gunpowder; they did not completely ban the possession of any
 7   common arm. These distinctions are key because, as explained above, the State’s
 8   proposed historical analogues must be similar in both type and justification. Bruen, 142
 9   S. Ct. at 2133.
10         As the Heller Court explained in the context of analyzing D.C.’s handgun ban,
11   Founding-era gunpowder restrictions “did not clearly prohibit loaded weapons, but
12   required only that excess gunpowder be kept in a special container or on the top floor
13   of the home. [Citation] Nothing about those fire-safety laws undermines our analysis;
14   they do not remotely burden the right of self-defense as much as an absolute ban on
15   handguns.” 554 U.S. at 632 (discussing the dissent’s reliance on early American
16   gunpowder restrictions) (emphasis added). They likewise “do not remotely burden the
17   right of self-defense as much as an absolute ban on” common ammunition magazines.
18
                  4.    Restrictions on Carry or Use While Engaged in Unlawful
19                      Activities
20         Finally, that State’s charts include two founding-era laws from Massachusetts
21   and the territory of Ohio that prohibited the carry of certain weapons while engaged in
22   or intending to engage in unlawful activities. ECF No. 139-1, at 3 (citing An Act to
23
24   (1858)); see also id. at 7, 44 (laws from Connecticut (1836) and the territory of
     Washington (1881) authorizing local cities to regulate gunpowder storage).
            5
25            See, e.g., ECF No. 139-1, at 3 (citing 1783 Mass. Acts 37 (The preamble reads:
     “Whereas the depositing of loaded arms in the houses of the town of Boston, is
26   dangerous to the lives of those who are disposed to exert themselves when a fire
     happens to break out in said town.”) (Thomas Wetmore, Commissioner, The Charter
27   and Ordinances of the City of Boston: Together with the Acts of the Legislature
     Relating to the City 142-43 (1834), available at The Making of Modern Law: Primary
28   Sources)); id. at 7 (citing 1821 Me. Laws 98, An Act for the Prevention of Damage by
     Fire, and the Safe Keeping of Gun Powder, ch. 25, § 1).
                                                  13
       PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: CHARTS OF HISTORICAL LAWS
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 1   Prevent Routs, Riots, and Tumultuous assemblies, and the Evil Consequences Thereof,
 2   reprinted in Cumberland Gazette (Portland, MA), Nov. 17, 1786, at 1; 1788-1801 Ohio
 3   Laws 20, A Law Respecting Crimes and Punishments, ch. 6). Throughout the
 4   nineteenth century, these laws spread to New Jersey (1799, 1877), Maryland (1811),
 5   Georgia (1816), Illinois (1845), California (1853), Indiana (1855), Florida (1868),
 6   Massachusetts (1873), Arkansas (1875), and Colorado (1876), as well as the territories
 7   of Nebraska (1858), Idaho (1875), and Wyoming (1876). ECF No. 139-1, at 4-6, 12,
 8   14, 16, 24, 30, 33, 35-37.
 9         Once again, these laws are not “relevantly similar” to California’s modern
10   magazine ban because they did not ban any class of arms. Rather, they regulated the
11   manner of using them; specifically, they restricted only the carry or use of weapons in
12   the commission of crimes, like assault, burglary, and rioting, or when being arrested
13   under a warrant. To the extent that such laws burden the right to keep and bear arms at
14   all, any burden is fundamentally different from a flat ban on standard magazines
15   typically possessed for lawful purposes.
16
           C.     Antebellum America and the Reconstruction Era (1812 – 1877)
17
                  1.    Restrictions on Blunt Weapons, Bowie Knives, and Similar
18                      Arms
19         By far, the most oft-cited type of law the State relies on are those laws adopted
20   throughout the 1800s regulating certain sharp instruments (including “Bowie knives,”
21   “Arkansas toothpicks,” “sword canes,” “dirks,” and “daggers”), “blunt weapons”
22   (including “bludgeons,” “billies,” “clubs,” “slungshots,” and “sandbags”) and
23   concealed weapons, generally. But as the State has admitted, “[m]ost of these
24   restrictions targeted the carrying of such” items, not the mere acquisition or possession
25   of them for lawful purposes. Def.’s Suppl. Br. 41 (citing Spitzer Decl. Ex. E at 24).
26         By Plaintiffs’ count, the State lists only two laws that restricted the possession of
27   such arms before the end of the Reconstruction era. See ECF No. 139-1 (laws from
28   Georgia (1837) and New York (1866)). The oldest of the two was an 1837 law from
                                   14
      PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: CHARTS OF HISTORICAL LAWS
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 1   Georgia that banned the sale and possession of “Bowie or other kinds of knives,” as
 2   well as “pistols, dirks, sword-canes, [and] spears.” Id. at 8-9 (citing Acts of the General
 3   Assembly of the State of Georgia Passed in Milledgeville at an Annual Session in
 4   November and December 1837, at 90-91 (1838)). Shortly after its adoption, however,
 5   the Georgia Supreme Court held that the entire law (except for one section barring
 6   concealed carry) violated the Second Amendment. Nunn v. State, 1 Ga. 243 (1846).
 7         What’s more, David Kopel, a prolific legal scholar whose work was cited
 8   favorably in Bruen, recently published a detailed evaluation of Reconstruction-era
 9   Bowie knife laws. He concluded:
10               At the end of the 19th century, no state prohibited
                 possession of Bowie knives. Two states, Tennessee and
11               Arkansas, prohibited sales. The most extreme tax
                 statutes, such as Alabama’s $100 transfer tax from 1837,
12               had been repealed.
                 Only a very few statutes had ever attempted to regulate
13               the peaceable possession or carrying of Bowie knives
                 more stringently than handguns or other fighting knives,
14               such as dirks and daggers. Of those, only the 1838
                 Tennessee sales ban was still on the books by the end of
15               the century…. As with handguns, the states were nearly
                 unanimous in rejecting bans on adult possession or
16               acquisition of Bowie knives.… The much more common
                 approach was to legislate against concealed carry,
17               criminal misuse, or sales to minors.
18   Barvir Suppl. Br. Decl. Ex. 38 at 304 (ECF No. 132-5) (double emphasis added).
19         So, once again, the State relies on historical laws restricting just the manner of
20   carrying arms in public, not their possession or even use. At best, the State has shown
21   that concealed carry was disfavored in Reconstruction-era America. But such evidence
22   was not enough to justify modern-day bans on concealed carry in Bruen, so it is hard to
23   see how such enactments could bear the weight of California’s flat ban on the
24   possession of commonly possessed magazines here.
25                2.     Restrictions on Carry of Pistols and Other Arms
26         According to the State’s charts, Antebellum America also saw a rise in the
27   number of regulations on the manner of carrying arms, including pistols, in public
28   (e.g., while concealed carry was restricted, open carry was generally allowed). See,
                                   15
      PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: CHARTS OF HISTORICAL LAWS
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 1   e.g., ECF No. 139-1, at 5, 7-30, 35-37 (laws from Louisiana (1813, 1842, 1855, 1870),
 2   Massachusetts (1836), Arkansas (1837), Tennessee (1837, 1869, 1871), Virginia
 3   (1838), Alabama (1839, 1841, 1868, 1873, 1876, 1877), Maine (1841, 1847), Ohio
 4   (1859), California (1864), Georgia (1870, 1873), D.C. (1871), Texas (1871), as well
 5   as the territories of Florida (1839), New Mexico (1853), Colorado (1862, 1867),
 6   Montana (1864), and South Dakota (1877)).
 7         Like restrictions on gunpowder storage and setting “trap guns,” these early
 8   restrictions on public carry are not remotely analogous to California’s magazine ban.
 9   Nineteenth-century carry laws regulated only the manner of carrying certain arms in
10   public. And several such laws even included express exceptions for self-defense or
11   while traveling. ECF No. 139-1, at 11-12, 35-39 (laws from Alabama (1841, 1876,
12   1877), Maine, (1841), and Mississippi (1878), as well as the city of Boise, ID (1979)).
13   California’s modern magazine ban, on the other hand, restricts the mere possession of
14   magazines even in the home for self-defense purposes. The burdens imposed are thus
15   wildly different—even if it might be said that they impose an equally severe a burden
16   on the ability to engage in self-defense at any given moment.
17         Perhaps the closest the State comes to identifying a relevant historical analogue
18   is an 1867 Memphis law that restricted not just the concealed carry of “pocket pistols,”
19   but also prohibited the sale of such arms. ECF No.139-1, at 24 (citing William H.
20   Bridges, Digest of the Charters and Ordinances of the City of Memphis, from 1826 to
21   1867, Inclusive, Together with the Acts of the Legislature Relating to the City, with an
22   Appendix, at 44 (1867), Police Regulations of the State, Offences Against Public
23   Peace, § 4747). But this late law is far from persuasive. On the contrary, Supreme
24   Court precedent is clear that courts should “not stake [their] interpretation of the
25   Second Amendment upon a single law, in effect in a single city, that contradicts the
26   overwhelming weight of other evidence regarding the right to keep and bear arms for
27   defense.’” Heller, 554 U.S. at 632; see also Bruen, 142 S. Ct. at 2153 (quoting Heller
28   with approval).
                                   16
      PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: CHARTS OF HISTORICAL LAWS
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 1         What’s more, Bruen warned that courts should refrain from “giving
 2   postenactment history more weight than it can rightly bear.” 142 S. Ct. at 2136. “[T]o
 3   the extent later history contradicts what the text says,” as the State’s Reconstruction-
 4   era concealed carry bans do, “the text controls.” Id. at 2137 (citing Gamble v. United
 5   States, -- U.S. --, 139 S. Ct. 1960, 1987 (2019) (Thomas, J., concurring)).
 6                3.     Restrictions on Transfers to and Possession by Minors
 7         In the mid-19th century (and well into the 20th century), several states and cities
 8   began adopting laws regulating transfers of weapons to and concealed carry by minors.
 9   ECF No. 139-1, at 16-17, 24, 32, 35-36, 41-43, 45-46, 55 (Tennessee (1856, 1873),
10   Georgia (1876), Alabama (1877), Delaware (1881), Nevada (1881), Illinois (1881),
11   West Virginia (1882, 1891), Kansas (1883), Minnesota (1888), as well as the cities of
12   Herrodsburg, KY (1859) and Memphis, TN (1867)); ECF No. 139-2, at 10, 12, 15, 18-
13   19, 23-25 (laws from Texas (1897), New York (1900, 1911), and South Carolina
14   (1923), as well as the cities of Fresno, CA (1896) and Joplin, MO (1917)). Yet again,
15   the State’s proposed analogues miss the mark.
16         By and large, these laws regulated the transfer of arms to, but not the possession
17   of arms by, children.6 Some included exemptions for common arms possessed for
18   lawful purposes, like hunting guns, self-defense guns, and ordinary pocket knives.7
19   While others allowed for transfers to minors with the consent of parents, guardians, or
20   the magistrate.8 And others still restricted only concealed carry in public. See, e.g.,
21
           6
22            See, e.g., 1911 N.Y. Laws 442, An Act to Amend the Penal Law, in Relation to
     the Sale and Carrying of Dangerous Weapons, ch. 195, § 1; Joplin Code of 1917, Art.
23   67, § 1201; 1882 W. Va. Acts 421-22; W. Va. Code, ch. 148, § 7; 1891 W. Va. Code
     915, Of7 Offences Against the Peace, ch. 148, § 7.
24            See, e.g., 1855-56 Tenn. L. 92, ch. 81 (hunting guns); William H. Bridges,
     Digest of the Charters and Ordinances of the City of Memphis, from 1826 to 1867,
25   Inclusive, Together with the Acts of the Legislature Relating to the City, with an
     Appendix, at 50 (1867), Police Regulations of the State, Selling Liquors or Weapons to
26   Minors, § 4864 (guns for self-defense); 1881 Del. Laws 987, An Act Providing for the
     Punishment of Persons Carrying Concealed Deadly Weapons, ch. 548, § 1 (pocket
27   knives).
            8
              See, e.g., George Brooks Young, General Statutes of the State of Minnesota in
28   Force January 1, 1889, at 1006 (Vol. 2, 1888), Making, Selling, etc., Dangerous
     Weapons, §§ 333-34 (magistrate consent); 1897 Tex. Gen. Laws 221, An Act to
                                                 17
       PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: CHARTS OF HISTORICAL LAWS
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 1   David E. Baily, The General Statutes of the State of Nevada. In Force. From 1861 to
 2   1885, Inclusive. With Citations of the Decisions of the Supreme Court Relating
 3   Thereto, at 1077 (1885), An Act to prohibit the carrying of concealed weapons by
 4   minors, § 1).
 5         But even if these historical laws did not give way to the minor’s rights to possess
 6   common arms for lawful purposes, like hunting and self-defense, California is not
 7   simply regulating the transfer of magazines over ten rounds to minors without their
 8   parents’ consent. It is banning the right of law-abiding adults to acquire and possess
 9   these common magazines for all purposes. Like all the other laws the State cites, the
10   vast majority of the historical minor restrictions impose no where near the sort of
11   burden California’s modern magazine ban imposes. They are not relevantly similar,
12   and they should be given no weight.
13                   4.   Property Taxes and Occupational Taxes
14         As the State’s charts show, in the most of the years just before the Civil War and
15   during Reconstruction, a handful of states also levied personal property taxes on
16   certain classes of arms, ECF No. 139-1, at 12, 14-16, 22, 27, 33-34 (laws from
17   Mississippi (1841, 1850, 1854, 1856, 1871), Alabama (1851, 1867, 1875), North
18   Carolina (1866), and Virginia (1874)), and two states imposed occupational taxes on
19   the sellers of such arms, ECF No. 139-1, at 8, 32, 33, 45, 48, 50 (laws from Alabama
20   (1837, 1874, 1875)), and Georgia (1882, 1884, 1886)). Like dozens of other laws the
21   State relies on, these tax laws are not analogous to California’s modern magazine ban.
22         While taxes do burden the right to keep and bear arms by making the right more
23   expensive to exercise, such a burden is in no way comparable (in either kind or
24   severity) to a flat ban on the possession of an entire class of arms. What’s more, these
25
26   Prevent the Barter, Sale And Gift of Any Pistol, Dirk, Dagger, Slung Shot, Sword
     Cane, Spear, or Knuckles Made of Any Metal Or Hard Substance to Any Minor
27   Without the Written Consent of the Parent or Guardian of Such Minor. . ., ch. 155
     (parental consent); L. W. Moultrie, City Attorney, Charter and Ordinances of the City
28   of Fresno, 1896, at 37, § 53 (1896) (same); 1923 S.C. Acts 221 (parental consent for
     children over 13 years old).
                                               18
       PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: CHARTS OF HISTORICAL LAWS
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 1   laws—adopted in just five states—appear from the State’s charts to be merely outliers,
 2   not evidence of a “well-established” tradition of firearm regulation in America.
 3
                  5.     Miscellaneous Restrictions on Brandishing, Shooting at
 4                       Vehicles, and Using Certain Arms in Duels
 5         Finally, in the mid-to-late 1800s, California, Mississippi, and Indiana, as well as
 6   the territory of Washington, took steps to curb the brandishing or exhibition of
 7   weapons in a threatening, rude, or angry manner. ECF No. 139-1, at 9, 15, 18-19, 25,
 8   34. Indiana banned shooting at vehicles. Id. at 42. And California, Nevada, and the
 9   territory of Montana, adopted laws enhancing the penalties for using certain weapons
10   in fights or duels. Id. at 15, 19, 39. None of these laws are constitutionally relevant,
11   because not one of them bans the possession of any arm, let alone an entire class of
12   arms in common use for lawful purposes. And Bruen instructs that the 19th-century
13   laws of the Western territories are of little value because they are “most unlikely to
14   reflect ‘the origins and continuing significance of the Second Amendment.” 142 S. Ct.
15   at 2154.
16         D.     The Late-nineteenth and Early-twentieth Centuries (1878 – 1934)
17         As discussed above, the Supreme Court gave very little weight to laws that long
18   pre-dated the Founding, finding them only relevant where evidence shows that they
19   survived to become the laws of the Founders. 142 S. Ct at 2136 (citing Funk, 290 U.S.
20   at 382). The Court considered 20th century history even less important, relegating its
21   discussion of the laws of the period a mere footnote. Id. at 2154, n.28. Declining to
22   even consider such evidence, the Court explained that like laws of the late-19th-
23   century, the “20th-century evidence presented by respondents and their amici does not
24   provide insight into the meaning of the Second Amendment when it contradicts earlier
25   evidence.” Id. (emphasis added). Indeed, based on Bruen’s clear guidance, the first
26   wave of post-Bruen Second Amendment decisions have rebuked calls to rely on
27   evidence of 20th century regulations entirely. See, e.g., Antonyuk v. Hochul, No. 22-cv-
28   0986, 2022 U.S. Dist. LEXIS 201944, at *127 (N.D.N.Y. Nov. 7, 2022); United States
                                   19
      PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: CHARTS OF HISTORICAL LAWS
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 1   v. Nutter, No. 21-cr-00142, 2022 U.S. Dist. LEXIS 155038, at *9 (S.D. W. Va. Aug.
 2   29, 2022) (holding that laws originating in the 20th century cannot justify a law unless
 3   similar laws existed at the Founding); Firearms Pol’y Coal., Inc. v. McCraw, No. 21-
 4   cv-1245, 2022 U.S. Dist. LEXIS 152834, at *29 (N.D. Tex. Aug. 25, 2022) (holding
 5   that 22 state laws adopted in the 20th century was insufficient historical justification
 6   for a ban on firearms purchases for those under the age of 21).
 7         Even still, the State pads its compendium with 183 late-19th-century and early-
 8   20th-century laws. To be sure, most of these laws do resemble laws adopted throughout
 9   the 1800s, including taxes on dealers9 and restrictions on the manner of carry,10
10   possession by and transfer to minors,11 and the setting of “trap guns.”12 But these laws
11   are not relevantly similar to California’s modern magazine ban for all the reasons
12   discussed above. See supra, Sections I.C.2, I.C.4 & I.C.5.
13         Also during this period, five states (and one city) adopted laws that—for the first
14   time since Georgia’s 1837 ban on pistols was found unconstitutional—banned
15   possession of not just Bowie knives, blackjacks, and the like, but also pistols,
16   revolvers, and “other firearms.” ECF No. 139-1, at 41 (law from Illinois (1881)); ECF
17
           9
18            ECF No. 139-1 (laws from Georgia (1882, 1884, 1886, 1888) and Alabama
     (1887);10ECF No. 139-2 (laws from Georgia (1890, 1892) and Alabama (1892, 1897)).
19             ECF No. 139-1 (laws from Mississippi (1878), North Carolina (1879), Ohio
     (1880), South Carolina (1880), Alabama (1881), Arkansas (1881), Colorado (1881),
20   Nevada (1881), Georgia (1882), West Virginia (1882), Missouri (1883), Maine (1884),
     Tennessee (1884), Oregon (1885), Michigan (1887), Virginia (1887), Florida (1888),
21   Minnesota (1888), as well as the territories of Washington (1881) and Montana (1887);
     ECF No. 139-2 (laws from Michigan (1891), West Virginia (1891, 1925), Delaware
22   (1893), Rhode Island (1893, 1896, 1908, 1927), North Dakota (1895), Mississippi
     (1896), Washington (1897), Georgia (1898), Alaska (1899), South Dakota (1903), New
23   Jersey (1905), Idaho (1909), New York (1911, 1931), Iowa (1913), North Dakota
     (1915), California (1917, 1923), Oregon (1917), Missouri (1923), Massachusetts
24   (1927), Illinois (1931), and D.C. (1932), as well as the territories of Arizona (1889,
     1893, 1901), Idaho (1889), Oklahoma (1890, 1903), and Hawaii (1913)).
           11
25             ECF No. 139-1 (laws from Delaware (1881), Illinois (1881), Nevada (1881),
     West Virginia (1882), Kansas (1883), Minnesota (1888)); ECF No. 139-2 (laws from
26   Louisiana (1890), West Virginia (1891), North Carolina (1893), Texas (1897), New
     York (1900, 1911), and South Carolina (1923)).
           12
27             ECF No. 139-1 (laws from Vermont (1884); ECF No. 139-2 (laws from North
     Dakota (1891, 1895), Utah (1901), South Dakota (1909), Washington (1909), Vermont
28   (1912), New Hampshire (1915), Oregon (1925), Michigan (1931), and South Carolina
     (1931)).
                                                 20
       PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: CHARTS OF HISTORICAL LAWS
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 1   No. 139-2, at 9, 19-23 (laws from New York (1911, 1913), California (1917), Oregon
 2   (1917), as well as the territory of Montana (1885) and the city of Rawlins, WI (1893)).
 3   This Court should not even consider these late laws banning the possession of certain
 4   arms because they contradict the Nation’s long history of not banning the mere
 5   possession of entire classes of arms—especially arms in common use for lawful
 6   purposes. They are thus irrelevant outliers, and they provide no insight into the original
 7   meaning of the Second Amendment. As the Western District of New York recently
 8   observed:
 9                Bruen itself invalidated a century-old New York proper-
                  cause requirement … in effect in five other states as well
10
                  as the District of Columbia. That seven jurisdictions
11                enacted similar restrictions was insufficient in the face of
                  a much broader and much older public-carry tradition. If
12
                  such was a failure of analogs or tradition in Bruen, the
13                State’s argument must also fail here.
14   Hardaway v. Nigrelli, No. 22-cv-771, 2022 U.S. Dist. LEXIS 200813, at *37, n.16
15   (W.D.N.Y. Nov. 3, 2022) (emphasis added).
16         Finally, the State submits a collection of about 30 machine-gun bans adopted in
17   24 states between 1925 and 1934—several of which the State already submitted to this
18   Court in support of its opposition to summary judgment. ECF No. 139-2, at 28-39. But
19   again, the “machine gun statutes cited by the Attorney General do not stand as proof of
20   long-standing prohibitions on the firing-capacity of Second Amendment-protected
21   commonly possessed firearms.” Duncan, 366 F. Supp. 3d at 1152. That is because, this
22   Court has held, “machine guns, like grenades and shoulder-fired rocket launchers, are
23   not commonly possessed by law-abiding citizens for lawful purposes, they are specific
24   arms that fall outside the safe harbor of the Second Amendment.” Id. These laws are
25   neither longstanding nor relevantly similar to California’s ban on protected magazines.
26         To reiterate, 20th century laws alone cannot establish a historical tradition; they
27   can only confirm what came before. As already discussed, there is no relevant
28   Founding-era or Reconstruction-era tradition of banning arms commonly chosen for
                                   21
      PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: CHARTS OF HISTORICAL LAWS
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 1   lawful purposes. See supra, Section I.B & I.C. The 20th century laws the State cites
 2   thus contradict the relevant historical tradition rather than reaffirm it. Under Bruen,
 3   that makes them irrelevant to the analysis.
 4                                       CONCLUSION
 5          For these reasons, the Court should (again) declare California Penal Code
 6   section 32310 unconstitutional and permanently enjoin its enforcement.
 7   Dated: February 10, 2023                MICHEL & ASSOCIATES, P.C.
 8                                           /s/ Anna M. Barvir
                                             Anna M. Barvir
 9                                           Email: abarvir@michellawyers.com
                                             Attorneys for Plaintiffs
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      PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: CHARTS OF HISTORICAL LAWS
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 1                           CERTIFICATE OF SERVICE
                          UNITED STATES DISTRICT COURT
 2
                        SOUTHERN DISTRICT OF CALIFORNIA
 3
     Case Name: Duncan, et al. v. Becerra
 4
     Case No.: 17-cv-1017-BEN-JLB
 5
     IT IS HEREBY CERTIFIED THAT:
 6
 7          I, the undersigned, declare under penalty of perjury that I am a citizen of the
     United States over 18 years of age. My business address is 180 East Ocean Boulevard,
 8
     Suite 200 Long Beach, CA 90802. I am not a party to the above-entitled action.
 9
           I have caused service of the following documents, described as:
10
11   PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: CHARTS OF HISTORICAL
     LAWS
12
13   on the following parties by electronically filing the foregoing on February 10, 2023,
     with the Clerk of the District Court using its ECF System, which electronically
14
     notifies them.
15
     Rob Bonta
16
     Attorney General of California
17   Mark R. Beckington
     Supervising Deputy Attorney General
18
     Kevin J. Kelly
19   Deputy Attorney General
     300 South Spring Street, Suite 1702
20
     Los Angeles, CA 90013
21   kevin.kelly@doj.ca.gov
22
23        I declare under penalty of perjury that the foregoing is true and correct.
     Executed on February 10, 2023, at Long Beach, CA.
24
25
26
                                                         Laura Palmerin
27
28

                                 CERTIFICATE OF SERVICE
                                                                                       17cv1017
